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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

   JANNEASE JOHNSON,
   12807 Waterfowl Way
   Upper Marlboro, MD 20774
                                                       20-cv-2944
          Plaintiff,

          v.

   DISTRICT OF COLUMBIA,
   1350 Pennsylvania Avenue, NW
   Washington, DC 20004

          &

   QUINCY BOOTH, Director
   DEPARTMENT OF CORRECTIONS
   2000 14th Street, NW
   Washington, DC 20009

          &

   WANDA PATTEN, Deputy Director of
   Operations
   DEPARTMENT OF CORRECTIONS
   2000 14th Street, NW
   Washington, DC 20009

                         Defendants.


                                   NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1441(a) and 1446 and Fed. R. Civ. P. 81(c), Defendant District

of Columbia (the District), by and through undersigned counsel, hereby removes Jannease

Johnson v. District of Columbia, et al., Civil Action Number 2020 CA 003889 B, which was

brought in the Superior Court of the District of Columbia against the District, Director Quincy

Booth, and Deputy Director of Operations Wanda Patten (collectively, “Defendants”), to this
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Court because the claims raised in the Complaint assert federal questions appropriate for

resolution by this Court.

       A party may remove a civil action brought in a state court if the district courts of the

United States have original jurisdiction. See 28 U.S.C. § 1441(a). Here, Plaintiff’s complaint

brings a claim under federal law. In Count II of the Complaint, Plaintiff asserts a First

Amendment retaliation claim against Defendants under 42 U.S.C. § 1983. Because the claim

asserted in Counts II arises under federal law, this Court has original jurisdiction under 28 U.S.C.

§ 1331. See 28 U.S.C. § 1331 (“The district courts shall have original jurisdiction of all civil

actions arising under the Constitution, laws, or treaties of the United States.”). Therefore, under

28 U.S.C. § 1441(a), the District may remove this action to this Court.

       In addition, under 28 U.S.C. § 1367(a), this Court may exercise supplemental jurisdiction

over Plaintiff’s state law claims in Counts I and IV of the Complaint for alleged violations of the

D.C. Whistleblower Retaliation Act and Count III for common law civil conspiracy. Here, the

claims brought in Counts I, III, and IV form part of the same case or controversy as the § 1983

First Amendment retaliation claim in Count I. Accordingly, the Court may exercise

supplemental jurisdiction over the state law claims. See Busby v. Capital One, N.A., 759 F.

Supp. 2d 81, 83-84 (D.D.C. 2011) (“Once a case has been removed, the district court has original

jurisdiction over the plaintiff’s claim under federal law, and may thus ‘exercise supplemental

jurisdiction over accompanying state law claims so long as those claims constitute other claims

that form part of the same case or controversy.’”) (quoting City of Chicago v. Int’l College of

Surgeons, 522 U.S. 156, 164-65 (1997)) (ellipses and quotation marks omitted).

       The requirements of 28 U.S.C. § 1446 are satisfied because this Notice is filed within 30

days after service of process upon the District, which occurred on September 14, 2020. Copies



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of all pleadings and orders served upon the District in this matter, as well as papers filed in the

Superior Court of the District of Columbia, are attached as Exhibit 1. After this Notice is filed in

the United States District Court for the District of Columbia, the District will file notice of this

removal with the Clerk of the Court for the Superior Court of the District of Columbia and serve

a copy on Plaintiff.

       Venue is proper as the United States District Court for the District of Columbia includes

the District of Columbia, where the events giving rise to this action allegedly occurred, and

where the Superior Court of the District of Columbia is located. Defendants Quincy Booth and

Wanda Patten have both been served, upon information and belief, on or about September 28,

2020, and consent to the removal of this action.

       Accordingly, the District removes this action to this Court from the Superior Court of the

District of Columbia, Civil Division.


Date: October 14, 2020                         Respectfully submitted,

                                               KARL A. RACINE
                                               Attorney General for the District of Columbia

                                               CHAD COPELAND
                                               Deputy Attorney General
                                               Civil Litigation Division

                                               /s/ Christina Okereke
                                               CHRISTINA OKEREKE [219272]
                                               Chief, Civil Litigation Division Section II

                                               /s/ Katrina Seeman
                                               KATRINA SEEMAN [1671729]
                                               Assistant Attorney General
                                               400 6th Street, N.W.
                                               Washington, D.C. 20001
                                               (202) 724-6607
                                               (202) 724-5917 (fax)
                                               katrina.seeman@dc.gov

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                                            Counsel for Defendant District of Columbia

                                CERTIFICATE OF SERVICE

       I hereby certify that on October 14, 2020, I served a copy of the foregoing Notice of

Removal and the exhibit attached thereto by email upon counsel for Plaintiff as follows:

       J. Michael Hannon, Esq.
       333 8th Street NE
       Washington, DC 20002
       (202) 232-1907
       jhannon@hannonlawgroup.com
       Counsel for Plaintiff

                                            /s/ Katrina Seeman
                                            KATRINA SEEMAN
                                            Assistant Attorney General




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